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                                   V.
                                                                                                    2:12-CR-463 JCM (VCF)
                                                                                  &DVH1XPEHU 2:12-CR-0426-JCM-VCF
                  FREDERICK VERNON WILLIAMS
                                                                                  8601XPEHU 47448-048
   Date of Original Judgment:                7/21/2016                            BRENDA WEKSLER, AFPD
   (Or Date of Last Amended Judgment)                                             'HIHQGDQW¶V$WWRUQH\

   Reason for Amendment:
   G &RUUHFWLRQRI6HQWHQFHRQ5HPDQG 86& I  DQG                  G 0RGLILFDWLRQRI6XSHUYLVLRQ&RQGLWLRQV 86& F RU H
   G 5HGXFWLRQRI6HQWHQFHIRU&KDQJHG&LUFXPVWDQFHV )HG5&ULP               G 0RGLILFDWLRQRI,PSRVHG7HUPRI,PSULVRQPHQWIRU([WUDRUGLQDU\DQG
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   G &RUUHFWLRQRI6HQWHQFHIRU&OHULFDO0LVWDNH )HG5&ULP3                 WRWKH6HQWHQFLQJ*XLGHOLQHV 86& F 

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   THE DEFENDANT:
   G SOHDGHGJXLOW\WRFRXQW V
   G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
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   ✔ ZDVIRXQGJXLOW\RQFRXQW V 1, 2, 3, 4, 8-16, 19, 20, 22, 28, 29, 30, 32, 33 of the Third Superseding Indictment
   G
        DIWHUDSOHDRIQRWJXLOW\
   7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV
   Title & Section ?                Nature of Offense                                          Offense Ended          Count
    18 USC§1542                         False Statement in Application for Passport                                 9/21/2004                     1

    18 USC§911                          False Citizenship Claim                                                     3/3/2009                      2

    18 USC§1028A(a)(1)                  Aggravated Identity Theft                                                   3/3/2009                      3
          7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK              1          RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
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   ✔ 2ULJLQDOLQGLFWPHQWVXSHUVHGLQJVHFRQGVXSHUVHGLQJLQGLFWPHQWDORQJZLWKUHPDLQLQJFRXQWVRIWKHWKULGVXSHUVHGLQJLQGLFWPHQWDUHGLVPLVVHGRQ
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                                                                                  'DWHRI,PSRVLWLRQRI-XGJPHQW


                                                                                    JQQDDWWXUHRI
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                                                                                  6LJQDWXUHRI-XGJH
                                                                                   James C. Mahan,                               U.S. District Judge
                                                                                  1DPHDQG7LWOHRI-XGJH

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WHUPRI
     Defendant LV
    'HIHQGDQW     is sentenced
                     VHQWHQFHGtoWR  a term
                                      D WHUPof 63 months
                                               RI       on counts
                                                     PRQWKV         1, 4, 9- 
                                                              RQ FRXQWV        16,19, 20,
                                                                                       22, 
                                                                                               28, 30,
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                                                                                                             (36)
                                                                                                                 months on counts
                                                                                                                       PRQWKV       2
                                                                                                                                  RQ FRXQWV  DQG 
     and  8 all to run  concurrently,   and 24  months  on counts 3 and 29   to run  consecutively, with  a sentence imposed on
    DOO WR UXQ FRQFXUUHQWO\ DQG  PRQWKV RQ FRXQWV  DQG  WR UXQ FRQVHFXWLYHO\ ZLWK D VHQWHQFH LPSRVHG RQ DOO RWKHU FRXQWV all other
     countsUHVXOWV
    ZKLFK    which LQ results in an aggregate
                         DQ DJJUHJDWH           sentence
                                          VHQWHQFH       of 87
                                                      RI     months.
                                                            PRQWKV


      G
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    6DIIRUG $UL]RQD



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      G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
           G DW                                    G DP        G SP         RQ                                               

           G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
           G EHIRUHSPRQ                                               

           G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
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 G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
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           7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDOFRQGLWLRQV
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 QHJRWLDWLQJ RU FRQVXPPDWLQJ DQ\ ILQDQFLDO FRQWUDFWV ZLWKRXW WKH DSSURYDO RI WKH SUREDWLRQ RIILFHU

  $FFHVV WR )LQDQFLDO ,QIRUPDWLRQ  <RX VKDOO SURYLGH WKH SUREDWLRQ RIILFHU DFFHVV WR DQ\ UHTXHVWHG ILQDQFLDO LQIRUPDWLRQ
 LQFOXGLQJ SHUVRQDO LQFRPH WD[ UHWXUQV DXWKRUL]DWLRQ IRU UHOHDVH RI FUHGLW LQIRUPDWLRQ DQG DQ\ RWKHU EXVLQHVV ILQDQFLDO
 LQIRUPDWLRQ LQ ZKLFK \RX KDYH D FRQWURO RU LQWHUHVW

  'HSRUWDWLRQ &RPSOLDQFH  ,I GHSRUWHG \RX VKDOO QRW UHHQWHU WKH 8QLWHG 6WDWHV ZLWKRXW OHJDO DXWKRUL]DWLRQ

  :DUUDQWOHVV 6HDUFK  <RX VKDOO VXEPLW \RXU SHUVRQ SURSHUW\ UHVLGHQFH SODFH RI EXVLQHVV DQG YHKLFOH XQGHU \RXU
 FRQWURO WR D VHDUFK FRQGXFWHG E\ WKH 8QLWHG 6WDWHV SUREDWLRQ RIILFHU RU DQ\ DXWKRUL]HG SHUVRQ XQGHU WKH LPPHGLDWH DQG
 SHUVRQDO VXSHUYLVLRQ RI WKH SUREDWLRQ RIILFHU DW D UHDVRQDEOH WLPH DQG LQ D UHDVRQDEOH PDQQHU EDVHG XSRQ UHDVRQDEOH
 VXVSLFLRQ RI FRQWUDEDQG RU HYLGHQFH RI D YLRODWLRQ RI D FRQGLWLRQ RI VXSHUYLVLRQ IDLOXUH WR VXEPLW WR D VHDUFK PD\ EH
 JURXQGV IRU UHYRFDWLRQ WKH GHIHQGDQW VKDOO LQIRUP DQ\ RWKHU UHVLGHQWV WKDW WKH SUHPLVHV PD\ EH VXEMHFW WR D VHDUFK
 SXUVXDQW WR WKLV FRQGLWLRQ

  &RPSXWHU 5HVWULFWLRQ DQG 0RQLWRULQJ  <RX VKDOO SURYLGH WKH SUREDWLRQ RIILFHU DFFXUDWHO\ LQIRUPHG RI DOO FRPSXWHUV DQG
 FRPSXWHU UHODWHG GLJLWDO GHYLFHV RU HTXLSPHQW ZLWK PHPRU\ DQGRU ZLUHOHVV FDSDELOLWLHV WKDW KH RZQV XVHV SRVVHVVHV RU
 KDV DFFHVV WR 7KLV LQFOXGHV EXW LV QRW OLPLWHG WR GHVNWRS ODSWRS DQG WDEOHW FRPSXWHUV VPDUW SKRQHV FDPHUDV GLJLWDO
 UHDGHUV DQG WKXPE GULYHV <RX VKDOO SURYLGH WR WKH SUREDWLRQ RIILFHU DOO GHYLFH DQG SURJUDP SDVVZRUGV DQG LQWHUQHW
 VHUYLFH SURYLGHU LQIRUPDWLRQ XSRQ UHTXHVW <RX VKDOO FRQVHQW WR WKH LQVWDOODWLRQ RI DQ\ KDUGZDUH RU VRIWZDUH V\VWHPV RQ
 DQ\ FRPSXWHU RU FRPSXWHU UHODWHG GLJLWDO GHYLFH WR PRQLWRU WKH XVH RI VDLG HTXLSPHQW DW WKH GLUHFWLRQ RI WKH SUREDWLRQ
 RIILFHU DQG \RX DJUHH QRW WR WDPSHU ZLWK VXFK KDUGZDUH RU VRIWZDUH DQG QRW LQVWDOO RU XVH DQ\ VRIWZDUH SURJUDPV GHVLJQHG
 WR KLGH DOWHU RU GHOHWH \RXU FRPSXWHU DFWLYLWLHV )XUWKHUPRUH \RX VKDOO FRQVHQW WR WKH LQVSHFWLRQ LPDJLQJ FRS\LQJ RI GDWD
 RU UHPRYDO RI DQ\ GHYLFH WR HQVXUH FRPSOLDQFH ZLWK FRQGLWLRQV

  3RVVHVVLRQ RI :HDSRQV  <RX VKDOO QRW SRVVHVV KDYH XQGHU \RXU FRQWURO RU KDYH DFFHVV WR DQ\ ILUHDUP H[SORVLYH
 GHYLFH RU RWKHU GDQJHURXV ZHDSRQV DV GHILQHG E\ IHGHUDO VWDWH RU ORFDO ODZ

  7UXH 1DPH  <RX VKDOO XVH \RXU WUXH QDPH DW DOO WLPHV DQG ZLOO EH SURKLELWHG IURP WKH XVH RI DQ\ DOLDVHV IDOVH GDWHV RI
 ELUWK VRFLDO VHFXULW\ QXPEHUV SODFHV RI ELUWK DQG DQ\ RWKHU SHUWLQHQW GHPRJUDSKLF LQIRUPDWLRQ


                 ACKNOWLEDGEMENT


                 Upon finding of a violation of probation or supervised release, I understand that the court may
                 (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
                 supervision.

                 These conditions have been read to me. I fully understand the conditions and have been provided
                 a copy of them.


                 (Signed)          _________________________                         ______________________
                                   Defendant                                         Date


                                  ___________________________                        _______________________
                                  U.S. Probation/Designated Witness                  Date
                 Case
                  Case2:12-cr-00463-JCM-VCF
                        2:12-cr-00463-JCM-VCF Document
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  WR ZKLFK \RX DUH UHOHDVHG ZLWKLQ  KRXUV RI GLVFKDUJH IURP FXVWRG\

  1RWH $ ZULWWHQ VWDWHPHQW RI WKH FRQGLWLRQV RI UHOHDVH ZDV SURYLGHG WR WKH GHIHQGDQW E\ WKH 3UREDWLRQ 2IILFHU LQ RSHQ FRXUW
  DW WKH WLPH RI VHQWHQFLQJ




                      ACKNOWLEDGEMENT


                      Upon finding of a violation of probation or supervised release, I understand that the court may
                      (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
                      supervision.

                      These conditions have been read to me. I fully understand the conditions and have been provided
                      a copy of them.


                      (Signed)            _________________________                       ______________________
                                          Defendant                                       Date


                                        ___________________________                       _______________________
                                        U.S. Probation/Designated Witness                 Date
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 G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                $QAmended Judgment in a Criminal Case(AO 245C) ZLOOEHHQWHUHG
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 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
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   1DPHRI3D\HH                                                         7RWDO/RVV           5HVWLWXWLRQ2UGHUHG 3ULRULW\RU3HUFHQWDJH
   &ROOHJH RI 6RXWKHUQ 1HYDGD                                                                          
   'HSDUWPHQW RI (PSOR\PHQW 7UDLQLQJ DQG                                                            
   'LYLVLRQ RI :HOIDUH        6XSSRUWLYH 6HUYLFHV                                                      

   6RFLDO 6HFXULW\ $GPLQLVWUDWLRQ                                                                      

   6WDWH RI 1HYDGD                                                                                      
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       G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH         G ILQH     G UHVWLWXWLRQ
       G WKHLQWHUHVWUHTXLUHPHQWIRUWKH         G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV

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                            (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

 '     G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
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